                                              UNITED STATES BANKRUPTCY COURT
                                                   Northern District of California

In re:   GLORIA CABRAL                     )                             Bankruptcy No.:18-51575 MEH
                                           )                             R.S. No.:
                                           )                             Hearing Date: October 5, 2018
                                           )                             Time:         10:00 a.m.
Debtor(s)                                  )                                           Courtroom 3020
__________________________________________ )

                                              AMENDED Relief From Stay Cover Sheet

Instructions: Complete caption and Section A for all motions. Complete Section B for mobile homes, motor vehicles, and personal
property. Complete Section C for real property. Utilize Section C as necessary. If moving party is not a secured creditor, briefly
summarize the nature of the motion in Section D.

(A)      Date Petition Filed: July 18, 2018                                   Chapter: 13
         Prior hearings on this obligation:    9/14/2018       _______________Last Day to File §523/§727 Complaints:

(B)      Description of personal property collateral (e.g. 1983 Ford Taurus):

         Secured Creditor [ ] or lessor [ ]
         Fair market value: $     ___           Source of value: ______________________________________
         Contract Balance: $___________________ Pre-Petition Default: $ _________________________________
         Monthly Payment: $___________________                    No. of months: _________________________
         Insurance Advance: $               _   Post-Petition Default: $          __               _____
                                                                  No. of months: _________________________

(C)      Description of real property collateral (e.g. Single family residence, Oakland, CA):
         Single family residence, address: 3474 Gila Drive San Jose, California 95148

         Fair market value: $ 980,000               Source of value: Appraisal            If appraisal, date: 8/10/2018

        Moving Party's position (first trust deed, second, abstract, etc.): Second deed of trust holder. A trustee sale was held
on July 18, 2018, with Movant obtaining a corrected trustee’s deed upon sale.

         Approx. Bal. $___244,023___________________ Pre-Petition Default: $____144,023
         As of (date):   July 18, 2018              ____ No. of months: _126 (Since Jan. 2008)
         Mo. payment: $____3,500_____________________ Post-Petition Default: $_3,500 ________
         Notice of Default (date):   12/19/2014     _____ No. of months: 2
         Notice of Trustee's Sale:__7/18/2018 (conducted)_ Advances Senior Liens: $_______________________________

         Specify name and status of other liens and encumbrances, if known (e.g. trust deeds, tax liens, etc.):
 Position                                                        Amount                Mo. Payment          Defaults

 1st Trust Deed:_Bank of New York_____                      $ 587,271            $      2,911               $ 2,911

 2nd Trust Deed: Kurt Miller, Movant                        $ 244,023            $      3,500               $ 7,000

 Judgment Lien: Kurt Miller, Movant                          $ 305,000


                                            (Total) $1,136,294           $      6,411                 $ 9,911
Other pertinent information: Movant is requesting in rem relief and annulment of the stay as of July 18, 2018 petition date.
 Dated: September 20, 2018                                                      _________/s/ Steven J. Sibley___________
                                                                                                Signature

                                                                         STEVEN J. SIBLEY, for Moving Party KURT MILLER




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